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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA
ex rel. TULLIO EMANUELE,

       Plaintiff,                                      Civil Action No. 10-245E

v.

MEDICOR ASSOCIATES, INC., et al.,

      Defendants.
_________________________________


                UNITED STATES’ NOTICE OF ELECTION TO INTERVENE
                         FOR PURPOSES OF SETTLEMENT

       Pursuant to the False Claims Act (the “FCA”), 31 U.S.C. § 3730(c)(3), and the Court’s

February 28, 2018 Order granting the United States leave to intervene, see ECF 474, the United

States hereby notifies the Court of its decision to intervene in this action for purposes of settlement.

Pursuant to an agreement among the United States, Hamot Medical Center of the City of Erie,

Medicor Associates, Inc., and Tullio Emanuele (the “Settlement Agreement”), the United States

intervenes as to all claims asserted on its behalf in this action. Consistent with the terms of the

Settlement Agreement, the Parties will shortly file a Stipulation of Dismissal under Fed. R. Civ. P.

41(a), dismissing this action.
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                          Respectfully submitted,

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                          Acting Assistant Attorney General

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